          Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 1 of 21




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                  )       Magistrate No. 1:21-MJ-469 (RMM)
                                           )
                  Plaintiff,               )       DEFENDANT’S SUPPLEMENTAL
                                           )
                                                   MEMORANDUM IN OPPOSITION
    v.                                     )
                                           )       TO GOVERNMENT’S MOTION FOR
                                           )       EMERGENCY STAY AND FOR
BRIAN CHRISTOPHER MOCK,
                                           )       REVIEW OF RELEASE ORDER
                                           )
                          Defendant.       )

         Defendant Brian Christopher Mock hereby respectfully submits this Supplemental

Memorandum in Opposition to the government’s Motion for Emergency Stay and Review

of Detention Order (“Gov’t Br.”, ECF No. 6). The Court should deny the government’s

Motion because it has not met its burden of establishing, by clear and convincing evidence,

that no condition or combination of conditions will reasonably ensure the safety of any other

person or the community were Mr. Mock released pending trial, per 18 U.S.C. § 3142(e)(1).

         Mr. Mock does not intend this submission to minimize the seriousness of the

allegations against him and the importance of the Court’s detention calculus. Mr. Mock

further acknowledges the holding of the United States Court of Appeals, District of

Columbia Circuit that, “[w]hatever potential persuasiveness the government’s failure to seek

detention in another case carries in the abstract, every such decision by the government is

highly dependent on the specific facts and circumstances of each case . . . .” United States v.

Munchel, 991 F.3d 1273, 1284 (D.C. Cir.), judgment entered, 844 F. App’x 373 (D.C. Cir.

2021).

                                               1
         Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 2 of 21




       That said, as this Court acknowledged in United States v. Owens, No. 21-CR-286

(BAH), 2021 WL 2188144 (D.D.C. May 28, 2021), “[t]he Munchel panel . . . nonetheless

directed that the district court ‘should’ consider comparator cases in weighing the

government’s proffer of dangerousness if defendants ‘raise the issue upon remand[.]’”

Owens, 2021 WL 2188144 at *11 (quoting Munchel, 991 F.3d at 1284). To that end, and

consistent with the Court’s directive at the June 22, 2021 hearing that the parties submit

supplemental briefing, Mr. Mock submits the following table summarizing several

comparator cases arising out of the events of January 6, 2021, including relevant facts and

the respective defendants’ bond statuses, where the government did not seek detention.1 In

support of Mr. Mock’s request for release under a combination of conditions that will assure

community safety, the information infra is offered as relevant to the Court’s weighing the

government’s proffer of dangerousness in this case:



1
        The table does not include Owens, supra, nor United States v. Gossjankowski, 21-cr-123-
PLF; United States v. Blair, 21-cr-186-CRC; United States v. Leffingwell, 21-cr-005-ABJ, which
Mr. Mock addressed in his initial brief (ECF No. 11 at 21-22) and the Court analyzed in
Owens. 2021 WL 2188144, at *11-*12. With the possible exception of United States v.
Schaffer, No. 1:21-cr-00306-APM-1—for which the docket does not conclusively indicate
whether the government ultimately withdrew its detention motion—the table likewise does
not include cases in which the government sought detention, but the District Court
ultimately ordered release. See, e.g., United States v. Mullins, No. 1:21-cr-00035-EGS-4 (in
03/02/2021 Minute Entry and Order (ECF No. 11), the Court affirmed the magistrate
judge’s release order, despite government’s motion for review and appeal, where allegations
included the defendant pulling an officer by the leg down stairs at the lower west terrace
tunnel, after which the officer was kicked, struck with poles, stomped on, and maced,
resulting in lacerations to the head requiring two staples to close (ECF No. 1-1 at 2-5)).
Instead, the table is limited to cases in which the government did not seek detention in the
first instance.
                                              2
                            Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 3 of 21




      Case Name & No.                     Statement of Facts / Offense                 Bond Status
United States v. Capsel,          ECF No. 1-1:                                         No apparent detention motion;
No. 1:21-mj-122                      “Witness 1 reported that they were a             02/04/2021 Minute Entry – “. . . Bond
                                       former neighbor of CAPSEL and that              Status of Defendant: Defendant placed
                                       CAPSEL was ‘known to be violent’.” (Id.         on Personal Recognizance Bond.”
                                       at 3.)
                                     “Your affiant reviewed video posted on
                                       social media in which it appears that
                                       CAPSEL is fighting against National
                                       Guardsmen attempting to hold the line
                                       with riot shields.” (Ibid.)
                                     “. . . CAPSEL, identifiable by the tattoos
                                       on his face and neck, and wearing the same
                                       hat, shirt, and necklace, is fighting against
                                       National Guardsmen until he is pepper
                                       sprayed, as shown in the last screenshot.
                                       Specifically, the video depicts CAPSEL
                                       charging against a lined group of National
                                       Guardsman, running into their protective
                                       shields.” (Id. at 5.)
United States v. Council,         ECF No. 1-1:                                         01/21/2021 Minute Entry – “. . .
No. 1:21-cr-00207-TNM                Defendant “was part of a larger group, but       Government does not seek the
                                       was individually pushing against the            Defendant’s Pretrial Detention. . . .
                                       barrier [inside the Capitol building] to        Bond Status of Defendant: Defendant
                                       include an emergency door that is kept          Placed on Personal Recognizance[.]”
                                       closed.” (Id. at 1.)
                                     “Once the door was forcibly opened he
                                       broke through along with others. All
                                       during this time he was continually yelling

                                                               3
                            Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 4 of 21




      Case Name & No.                      Statement of Facts / Offense               Bond Status
                                       at police officers that were trying to
                                       contain the scene. When he was deterred
                                       from advancing further into the building,
                                       COUNCIL pushed a uniformed officer of
                                       the United States Capitol Police.” (Ibid.)
United States v. Connell,         ECF No. 1-1:                                        No apparent detention motion;
No. 1:21-cr-84                       Prior to events of January 6, “CONNELL          02/05/2021 Minute Entry – “. . . Bond
                                       posted on Facebook a screen shot of what       Status of Defendant: Defendant placed
                                       appears to be a Google maps picture of the     on Personal Recognizance Bond.”
                                       Washington, D.C. area with a pin dropped
                                       in the center of Washington. CONNELL
                                       added a message with flexing arm emojis
                                       saying, ‘gonna be right there in the middle
                                       of it.’” (Id. at 4.)
                                     After events of January 6, defendant posts
                                       on Facebook:
                                           o “‘I have more videos of us
                                                breaching the Capitol but not
                                                gonna post them. We will be back
                                                and it will be a lot worse than
                                                yesterday! . . . We need another
                                                “peaceful protest!”’” (Id. at 2-3.)
                                           o “‘4 of us breached the cops
                                                blockade and us same 4 breached
                                                the Capitol. . . . When we stormed
                                                the cops there was 8 of them and 4
                                                of us so [my cousin] got clubbed
                                                and shot with rubber bullet. But we

                                                              4
                  Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 5 of 21




Case Name & No.                 Statement of Facts / Offense                Bond Status
                                      pushed the cops against the wall,
                                      they dropped all their gear and left.
                                      That’s when we went to doors of
                                      Capitol building and breached it.’”
                                      (Id. at 9.)
                                 o In response to online question
                                      about whether “it lookin like a civil
                                      war yet?”, “CONNELL answered:
                                      ‘It’s gonna come to it.’” (Ibid.)
                            F.B.I. “affiant believes CONNELL may
                             intent to return to Washington, D.C.,
                             sometime during the week of January 18,
                             2021. According to a witness, CONNELL
                             has communicated with at least two other
                             individuals in Texas about purchasing
                             long-rifle firearms, ammunition, and body
                             armor to bring with them. According to
                             the witness, CONNELL explained that he
                             was not returning to Louisiana unless he
                             was in a body bag.              Your affiant
                             understood that to mean CONNEL
                             intended to travel to Washington D.C. to
                             cause violence that may result in the end of
                             his life.” (Ibid.)




                                                   5
                         Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 6 of 21




      Case Name & No.                   Statement of Facts / Offense                 Bond Status
United States v. Mackrell,     ECF No. 1-1:                                          No apparent detention motion;
No. 1:21-cr-00276-CKK-1           Over a more than four minute period,              03/23/2021 Minute Entry – “. . . Bond
                                    defendant pushed against barricades two          Status of Defendant: Defendant placed
                                    times, moved in towards officers’ new line,      on Personal Recognizance Bond.”
                                    pushed up and shoved against officers two
                                    times, and then—just after a member of the
                                    crowd sprayed what appeared to be bear-
                                    spray towards the officers—struck a U.S.
                                    Capitol Police Officer multiple (at least
                                    two) times, and then grabbed for officer’s
                                    gas mask, under the officer’s face shield,
                                    and thereby “attempted to expose the
                                    officer to the spray by grabbing the officer’s
                                    gas mask.” (Id. at 2-6.)
                                  “After the [defendant] struck the officer
                                    and grabbed the officer’s mask, another
                                    officer struck the [defendant] to protect the
                                    officer under attack” and was “able to
                                    knock down the” defendant, but the
                                    defendant told a camera following him
                                    that he was going to do “‘whatever it takes
                                    for [his] country,’” that he was “‘not
                                    done,’” and that he was “‘going back in’”.
                                    (Id. at 7.)
                                  On January 6, the defendant posted on
                                    Facebook regarding “the government[,]”
                                    “how about we get rid of all of them
                                    because well it is out literal job as

                                                            6
                        Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 7 of 21




     Case Name & No.                   Statement of Facts / Offense                Bond Status
                                    american’s to kill the tyrannical
                                    government.” (Id. at 8.)
                                  On January 7, the defendant stated in
                                    Facebook messages that “the cops got
                                    the[i]r[] ass handed to them[,]” “think
                                    about what happened today it was just a
                                    warning[,]” and “no one had a gun[;] now
                                    what would happen if we did???” (Id. at 9.)
United States v. Jason Douglas ECF No. 1-1:                                        04/21/21 Minute Entry – “Government
Owens,                            Defendant shoved an unknown MPD                 does not seek the Defendant's pretrial
No. 1:21-mj-00376-RMM-1             Officer immediately after an assault by co-    detention. . . .   Bond Status of
                                    defendant; “[t]he unknown MPD Officer’s        Defendant: Defendant Placed on
                                    head can be seen going backward after the      Personal Recognizance[.]”
                                    shove.” After the officer is identified, the
                                    officer’s body word camera shows the
                                    defendant making physical contact with
                                    the officer. (Id. at 10.)
                                  Defendant is also seen in a photograph
                                    with his hands on MPD Officers at the
                                    same time as the assault on the
                                    aforementioned officer. (Id. at 11.)
United States v. Palmer,       ECF No. 1-1:                                        No apparent detention motion;
No. 1:21-cr-00328-TSC-1           “. . . PALMER . . . can be seen throwing        03/23/2021 Minute Entry – “. . . Bond
                                    what appears to be a wooden plank at           Status of Defendant: Defendant Remain
                                    USCP and MPD officers protecting the           on Personal Recognizance.”
                                    Lower West Terrace entrance.” (Id. at 2.)
                                  “. . . [A]dditional publicly available video
                                    show[s] PALMER at or near the front of

                                                           7
                             Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 8 of 21




      Case Name & No.                      Statement of Facts / Offense                 Bond Status
                                        the mob. While there, the video shows
                                        PALMER spraying the contents of a fire
                                        extinguisher at the officers and then
                                        throwing the fire extinguisher at them. . . .
                                        [F]ootage from security cameras inside the
                                        Lower West Terrace tunnel provided by
                                        the U.S. Capitol Police (“USCP”)” shows
                                        that, “at approximately 4:55 p.m.,
                                        PALMER can be seen spraying the
                                        contents of the fire extinguisher at the
                                        police and then throwing the fire
                                        extinguisher at the police. Thereafter, the
                                        security footage shows PALMER picking
                                        up the fire extinguisher from the ground
                                        and throwing it at the officers a second
                                        time.” (Id. at 3.)
United States v. Sandoval,         ECF No. 1-1:                                         No apparent detention motion.
No. 1:21-cr-00195-TFH-2               “. . . CCTV shows that SALVADOR                  02/25/2021 Order Setting Conditions
                                        SANDOVAL JR was not only inside the             of Release. (ECF No. 12.) 02/25/2021
                                        Capitol, but was also engaged in assaulting     Minute Entry – “Bond Status of
                                        law enforcement officers. The CCTV              Defendant: Defendant placed on
                                        footage shows SALVADOR SANDOVAL                 Personal Recognizance Bond.”
                                        pushing two different law enforcement
                                        officers who are clearly identified as
                                        Metropolitan Police Officers via insignias
                                        on their jackets and helmets. SALVADOR
                                        SANDOVAL JR also grabbed the shield of
                                        a third Metropolitan Police Officer, pulled

                                                                8
                         Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 9 of 21




     Case Name & No.                    Statement of Facts / Offense                  Bond Status
                                    it toward himself, but was unsuccessful in
                                    prying it free from the officer’s grasp.” (Id.
                                    at 5.)
United States v. Schaffer,     ECF No. 1-1:                                           03/18/2021 Minute Entry – “Bond
No. 1:21-cr-00306-APM-1           “SCHAFFER was among the rioters who                Status of Defendant:        Defendant
                                    sprayed United States Capitol Police              Remain Held Without Bond[.]”
                                    officers with ‘bear spray,’ a form of             Government moved for defendant’s
                                    capsaicin pepper spray sold by many               detention via oral motion on
                                    outdoors retailers, as part of their efforts to   03/19/2021.        03/19/2021 Minute
                                    push the officers back inside the Capitol         Entry – “Bond Status of Defendant:
                                    and breach the Capitol Building                   Defendant Committed/Commitment
                                    themselves.” (Id. at 2.)                          Issued[.]”     03/24/2021 Order of
                                  “The photographs show SCHAFFER in a                Detention Pending Trial (ECF Nos. 12,
                                    blue hooded sweatshirt under a tactical           18.) 03/31/2021 Defendant’s Motion
                                    vest with a baseball cap that reads ‘Oath         for Review of Detention Order (ECF
                                    Keepers Lifetime Member.’ The ‘Oath               No. 14) was followed by 04/02/2021
                                    Keepers’ is an organization that                  Minute Order directing the government
                                    characterizes itself as a militia of former       to address Munchel.        The parties
                                    law enforcement and military personnel            submitted a 04/04/2021 Consent
                                    and has often, as a group, urged President        Motion to Continue the Detention
                                    Trump to declare Martial Law in order to          Hearing to 04/21/2021. (ECF No. 20
                                    prevent the Congress from certifying the          at 2.) On 04/16/2021, however, the
                                    Electoral College Results.” (Ibid.)               defendant pleaded guilty and his
                                  “During an interview in 2017,                      custodial status changed – 04/16/2021
                                    SCHAFFER identified himself as an                 Minute Entry – “Bond Status of
                                    ‘anarchist’ and referred to the federal           Defendant:        released on person
                                    government as a ‘criminal enterprise.’ . . .      recognizance.” It is unclear from the
                                    On November 14, 2020, SCHAFFER                    Minute Entry whether this is due to the

                                                             9
              Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 10 of 21




Case Name & No.              Statement of Facts / Offense                   Bond Status
                          participated in the ‘Million MAGA March’          government’s withdrawal of its
                          in Washington, D.C. with other Oath               detention motion, but no opposition to
                          Keepers members. . . . SCHAFFER was               release is indicated in that Minute Entry.
                          approached by a member of the press
                          during the March, and made numerous
                          statements indicating his intent to join
                          others in fighting the election results –
                          with violence if necessary. . . . ‘[N]ow we
                          see you, and you’re going down, mark my
                          words.’ . . . “[I]f somebody wants to bring
                          violence, I think there’s a lot of us here that
                          are ready for it. . . . [W]e’re going to
                          respond to that, trust me.’ . . . ‘We’re not
                          going to merge into some globalist,
                          communist system, it will not happen.
                          There will be a lot of bloodshed if it comes
                          down to that, trust me.’” (Id. at 2-3.)

                    ECF No. 30:
                       “. . . SCHAFFER participated in the
                         January 6 attack by unlawfully entering the
                         Capitol building, armed with bear spray,
                         intending to stop or delay the
                         Congressional proceeding.” (Id. at 2.)
                       “SCHAFFER is a founding lifetime
                         member of the Oath Keepers.” (Id. at 3.)
                       “Wearing a tactical vest and armed with
                         bear spray, SCHAFFER unlawfully

                                                 10
                        Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 11 of 21




     Case Name & No.                       Statement of Facts / Offense               Bond Status
                                       entered the building with the purpose of
                                       influencing, affecting, and retaliating
                                       against the conduct of government by
                                       stopping or delaying the Congressional
                                       proceeding by intimidation or coercion.”
                                       (Id. at 5.)
United States v. Southard-Rumsey, ECF No. 1-1:                                        No apparent detention motion.
No. 1:21-cr-00387-APM                Prior to January 6, defendant posted text       According to Department of Justice
                                       messages on social media stating, “‘Going      website,    “Arrested      6/2.     Initial
                                       to DC tomorrow…Patriot’s vs Traitors’          appearance held same afternoon.
                                       and ‘We The People are making a                Released on conditions.”                See
                                       declaration…1776!!’” (Id. at 3.)               https://www.justice.gov/usao-
                                     On January 6, defendant “posted an image        dc/capitol-breach-cases (last visited June
                                       that captured her in front of the Capitol      22, 2021).
                                       Building with the caption ‘DC Taking it
                                       back!!’” (Id. at 2.)
                                     Defendant also posted on Twitter, stating,
                                       “‘I’m doing a live feed. Standing in front
                                       of the Capitol Building ready to take it. As
                                       soon as we get enough people up here. To
                                       run the Capitol Building. It’s going to be
                                       fun.’” (Ibid.)
                                     “SOUTHARD-RUMSEY entered the
                                       Capitol Building through the Rotunda
                                       Door at approximately 2:26 p.m. on
                                       January 6, 2021. . . . After arriving in the
                                       Statuary       Hall    Connector       area,
                                       SOUTHARD-RUMSEY stopped and

                                                             11
              Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 12 of 21




Case Name & No.              Statement of Facts / Offense             Bond Status
                         stood in front of United States Capitol
                         Police (USCP) Sergeant N.V. (‘Sgt. V.’).
                         USCP Officers stood behind Sgt. V.
                         SOUTHARD-RUMSEY can be heard in
                         the video clips yelling the following at the
                         USCP Officers:
                             o ‘Tell Pelosi we are coming for that
                                 bitch.’
                             o ‘You ready, you ready.’
                             o ‘There’s a hundred thousand of us,
                                 what’s it going to be?’
                             o ‘Last friend, last bullet. What’s it
                                 going to be?’” (Id. at 4-8.)
                        “SOUTHARD-RUMSEY can also be
                         heard yelling at the other rioters, in
                         substance, ‘Alright push in here;’ and “You
                         ready to go again?’” (Id. at 8.)
                        “SOUTHARD-RUMSEY                 said    the
                         following to Sgt. V., in substance, ‘We’re
                         coming, we’re coming’ and ‘Let us
                         through. We have the building already.’”
                         (Ibid.)
                        At some point during Sgt. V.’s interaction
                         with      SOUTHARD-RUMSEY,               she
                         obtained a flagpole which she held in her
                         hands and pressed against his chest. Once
                         SOUTHARD-RUMSEY had the flagpole
                         on Sgt. V.’s chest, she did not remove it

                                              12
                       Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 13 of 21




     Case Name & No.                  Statement of Facts / Offense               Bond Status
                                  and he felt pressure from it.
                                  SOUTHARD-RUMSEY was the only one
                                  holding onto the flagpole. When the
                                  second agitator of the group yelled ‘Let’s
                                  go,’ SOUTHARD-RUMSEY started
                                  pushing Sgt. V. with the flagpole and drove
                                  him back into the first set of doors leading
                                  onto the House floor. When Sgt. V. hit
                                  the doors, the doors flew open and he was
                                  pushed into the Lafayette marble statue
                                  striking the back left side of his head on
                                  the base of the statue. Sgt. V. felt like he
                                  was being trampled during the ordeal.”
                                  (Id. at 9.)
                                “Following the Capitol Building siege on
                                  January 6, 2021, FBI Task Force Officer
                                  (TFO) Siobhan Maseda had obtained and
                                  reviewed video footage from inside the
                                  Capitol     Building      and     identified
                                  SOUTHARD-RUMSEY. TFO Maseda is
                                  assigned to the FBI’s Tampa Field Office
                                  and has previously had multiple
                                  interactions with SOUTHARD-RUMSEY
                                  in relation to her protesting activities in
                                  Florida.” (Ibid.)
United States v. Stetcher,   ECF No. 1-1:                                        04/13/2021    Minute     Entry     –
No. 1:21-mj-00276-RMM-1         “Based upon actions depicted in video           “Government does not seek the
                                  footage, Stecher forcibly pushed against       Defendant's pretrial detention. . . .

                                                        13
                            Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 14 of 21




      Case Name & No.                      Statement of Facts / Offense                Bond Status
                                       and assaulted officers while attempting to      Bond Status of Defendant: Defendant
                                       gain further entry into the U.S. Capitol        Placed on Personal Recognizance[.]”
                                       building. Stecher was on the Lower West
                                       Terrace and continued an attempt to enter
                                       the U.S. Capitol building after being
                                       sprayed by law enforcement officers with a
                                       chemical irritant and after being pushed
                                       back by law enforcement officers.” (Id. at
                                       8.)
United States v. Stevens,         ECF No. 1-1:                                         No apparent detention motion.
No. 1:21-cr-00040-TNM                “STEVENS can then be seen entering the           02/23/2021 Order Setting Conditions
                                       tunnel [(i.e., the lower west terrace door of   of Release. (ECF No. 9.) 02/23/2021
                                       the United States Capitol)] with the            Minute Order – “Bond Status of
                                       rioters, who begin to push against the          Defendant: Defendant placed on
                                       officers as a group. STEVENS can be seen        Personal Recognizance Bond with
                                       in surveillance footage yelling and placing     Location Monitoring.”
                                       1, then 2, and then 3 fingers in the air,
                                       with the crowd then pushing forward as he
                                       puts up 3 fingers. Surveillance footage
                                       shows that this continues a few times until
                                       someone at the front urges everyone to
                                       back up, at which point Stevens can be
                                       seen waiving to the crowd to back up.” (Id.
                                       at 5-6.)
                                     “. . . STEVENS can be seen grabbing one
                                       of the riot shields that is being passed
                                       forward by others . . . .” (Id. at 7.)


                                                              14
              Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 15 of 21




Case Name & No.              Statement of Facts / Offense                 Bond Status
                        “. . . [A]fter STEVENS . . . pushes his way
                         to the front of the line of rioters with the
                         shield, STEVENS was holding the shield
                         and using it to push against the line of
                         officers as the rioters add their weight and
                         push him too. . . . [A]t one point, the
                         shield STEVENS is holding also strikes an
                         officer in the helmet. At another point,
                         YouTube Video 1 also shows an officer
                         thrust his baton over a shield in an
                         apparent attempt to poke one of the
                         protesters and shows that STEVENS
                         grabbed the baton and, in a brief struggle,
                         tried to take it from the officer[.]” (Id. at 8-
                         9.)
                        “Then, around 4:15 p.m., STEVENS can
                         be seen in surveillance footage returning to
                         the tunnel, with the grey hood on his head
                         but otherwise appearing the same, and
                         once again joining a large group of rioters
                         pushing against law enforcement officers
                         guarding the lower west terrace doors. The
                         rioters push as a crowd against the officers
                         for a few minutes. Around 4:19 p.m.,
                         STEVENS can be seen waiving the group
                         back and begins exiting the tunnel again as
                         law enforcement officers finally push the


                                                15
                      Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 16 of 21




     Case Name & No.                  Statement of Facts / Offense              Bond Status
                                 group back to the arch entrance.” (Id. at
                                 9.)
United States v. Thomas,    ECF No. 1-1:                                        No apparent detention motion.
No. 1:21-mj-00448-ZMF-1        During “the late evening of January 5,          06/03/2021 Minute Entry – “Bond
                                 2021 into the early morning hours of           Status of Defendant:      Defendant
                                 January 6, 2021[,]” defendant “conven[ed]      Remain on Personal Recognizance[.]”
                                 a caravan of approximately 60 vehicles [in
                                 Ashland, Virginia] in anticipation of a
                                 scheduled rally in D.C. later that day[.]”
                                 Defendant arranged to meet the caravan
                                 group at the “Ellipse Grounds South[.]”
                                 Defendant stated on video, “‘right now, we
                                 got a whole [list] of people going to storm
                                 the Capitol[.]’” (Id. at 2-3.)
                               “At approximately 4:22 PM, . . . THOMAS
                                 . . . advanced up to the line of law
                                 enforcement officers and pushed against
                                 their shields with his forearm. . . . [E]ven
                                 after law enforcement officers pushed him
                                 back, THOMAS returned at least twice to
                                 punch or strike the officers with his fist
                                 and forearm. THOMAS continued to
                                 attack law enforcement this way or attempt
                                 to push them back for at least 25 seconds
                                 straight, from approximately 4:22 to 4:23
                                 PM.” (Id. at 4-5.)
                               “At approximately 4:26 PM, the assembled
                                 law enforcement officers again began to

                                                       16
              Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 17 of 21




Case Name & No.              Statement of Facts / Offense              Bond Status
                         dispel the crowd of rioters from the
                         steps[,]” but “THOMAS turned toward the
                         rioters and ordered them to ‘hold the line’
                         against the advancing officers. THOMAS
                         audibly repeated this order several times.”
                         (Id. at 6.)
                        “THOMAS approached the assembled law
                         enforcement officers at approximately 4:28
                         PM and hit the officers with his forearm
                         and elbow. Video 4 showed that, after he
                         was repulsed, THOMAS again approached
                         the officers, attempting to push them
                         back.” (Id. at 7.)
                        “As the law enforcement officers
                         advanced, THOMAS turned to his side,
                         using his elbow and shoulder to strike the
                         front line officers. Video 5 showed
                         THOMAS push back against the officers
                         in this way four more times and attempt to
                         punch with his fist once, while ordering
                         the rioters to ‘hold the line,’ until
                         approximately 4:30 PM.” (Id. at 8.)
                        “Officers stated that [the defendant] ‘was
                         one of the first to come in and start hitting
                         [and] pushing officers on the line’ and
                         ‘tried to kick [their] shield,’ ‘tr[ied] to
                         punch around [their] shield,’ and “engaged
                         other officers.’” (Ibid.)

                                              17
                       Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 18 of 21




      Case Name & No.                 Statement of Facts / Offense                Bond Status
United States v. Wilson,     ECF No. 1-1:                                         04/22/2021      Minute     Entry    –
No. 1:21-cr-00345-RCL-1         “. . . WILSON entered the lower west             “Government does not seek the
                                  terrace tunnel area of the U.S. Capitol         Defendant’s pretrial detention. . . .
                                  building shortly before 3 pm while rioters      Bond Status of Defendant: Defendant
                                  were pushing against law enforcement            Placed on Personal Recognizance[.]”
                                  officers in an attempt to gain entry into the
                                  building. . . . WILSON made his way to
                                  the front line of the officers. As officers
                                  tried to close a set of double doors,
                                  WILSON grabbed and tried to pull the
                                  door open. WILSON then raised what
                                  appeared to be a tablet device in order to
                                  deflect the spray of an irritant. WILSON
                                  was sprayed with the irritant by officers.
                                  WILSON picked up a several foot long
                                  white cylindrical object, believed to be a
                                  thin polyvinyl chloride (PVC) pipe, and he
                                  jabbed the officers with it. WILSON then
                                  raised the object above his head and tossed
                                  it at the officers. WILSON lingered in the
                                  tunnel. Shortly after a rioter stated, ‘Send
                                  the shield back, send the shield back’ and
                                  ‘Take the God damn shield,’ WILSON
                                  appeared to assist other rioters in pulling a
                                  shield away from the officers. In the
                                  skirmish, WILSON pushed two officers to
                                  the ground. WILSON then pushed on an
                                  officer’s shield as the rioters kept pushing

                                                         18
              Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 19 of 21




Case Name & No.              Statement of Facts / Offense           Bond Status
                         against the officers. WILSON was
                         observed in the tunnel for approximately
                         14 minutes.” (Id. at 3.)
                        “Officer-1 identified himself in the video
                         and stated that the individual later
                         identified as WILSON punched him,
                         pushed on his head, pushed on his shield
                         and hit him with a pole in the shoulder.”
                         (Id. at 6.)
                        “Officer-2 stated that he was pushed down
                         to the ground by the individual later
                         identified as WILSON.” (Ibid.)




                                             19
        Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 20 of 21




       In its reply brief, the government asks the Court to distinguish Mr. Mock’s case from

other January 6 cases where defendants have been released based on Mr. Mock’s criminal

history, his social media postings, and his alleged threats to a witness at the end of April of

2021. (ECF No. 13.) Again, without minimizing the seriousness of this matter, the foregoing

comparator cases are submitted per Munchel for the Court’s consideration in evaluating the

conduct charged against Mr. Mock, as well as his actions before and afterwards, in contrast

to other pending matters arising out of the same incident, wherein defendants have been

released pretrial. It is respectfully submitted that the facts of this case, when compared to

those above, are insufficient to “warrant this exceptional treatment” of pretrial detention.

Munchel, 991 F.3d at 1285.

       Based on the foregoing, as well as the points and authorities set forth in Mr. Mock’s

original brief (ECF No. 11) and at the June 22, 2021 hearing, Mr. Mock humbly prays that

the Court find that the government has not met its burden of demonstrating, by clear and

convincing evidence, that “no condition or combination of conditions will reasonably

assure” the safety of the community. 18 U.S.C. § 3142(e)(1). Mr. Mock therefore requests

that the Court order his release, subject to a combination of conditions to ensure he poses

no danger to any other person or to the community, including location monitoring, curfew,

and a no contact order with any alleged victim or witness.




                                              20
     Case 1:21-cr-00444-JEB Document 15 Filed 06/23/21 Page 21 of 21




DATED: June 22, 2021                 Respectfully submitted,

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                                     _________________________________
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